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May 21, 2025

VIA ECF
                                                                  Plaintiff shall file another status update by July 21, 2025.
Hon. Jennifer L. Rochon
United States District Judge                                                                               SO ORDERED.
                                                                  Dated: May 22, 2025
Daniel Patrick Moynihan
United States Courthouse                                                 New York, New York
500 Pearl Street                                                                                           JENNIFER L. ROCHON
                                                                                                           United States District Judge
New York, New York 10007

                  Re:       Supercell Oy v. Anxizhilangshangmaoyouxi, et al.
                            Case No. 25-cv-2315 (JLR)
                            Status Letter

Dear Judge Rochon,

        We represent Plaintiff Supercell Oy (“Plaintiff”) in the above-referenced action (the “Action”).1
In accordance with the Court’s May 16, 2025 Order (Dkt, 30), Plaintiff respectfully submits the instant
status letter.

        On April 15, 2025, pursuant to the methods of alternative service authorized by the Amended
Temporary Restraining Order (“Amended TRO”) (Dkt. 24), Plaintiff served the Summons, Complaint,
TRO, all papers filed in support of Plaintiff’s Application and the Amended TRO on each and every
Defendant. (Dkt. 27). On April 25, 2025, the Court held a show cause hearing on why a preliminary
injunction should not issue, and on April 28, 2025, the Court entered a preliminary injunction order
against all Defendants, mirroring the terms of the Amended TRO and extending through the pendency
of the Action (“PI Order”). (Dkt. 26). After receiving the PI Order, pursuant to the methods of alternative
service authorized by the Amended TRO and PI Order, Plaintiff served a copy of the PI Order on each
and every Defendant. (Dkt. 28). To date, none of the Defendants have appeared, filed Answers or
otherwise moved with respect to Plaintiff’s Complaint. However, several Defendants have reached out
to Plaintiff to discuss settlement but have not indicated an intention to formally appear in this Action.
Plaintiff is in active settlement negotiations with these Defendants and expects to reach settlement
agreements and voluntarily dismiss some, if not all of the Defendants it is in communication with.

       Moreover, in accordance with the Court’s directives in the PI Order, Plaintiff has begun the
process of serving the thirty-seven (37) Defendants in this Action for which it was able to locate physical
addresses through the Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents


1
 Where a defined term is referenced herein but not defined, it should be understood as it is defined in the Glossary in Plaintiff’s
Complaint or Application.
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in Civil or Commercial Matters (“Hague”).2 To allow time for Plaintiff to continue its settlement
discussions and to receive updates on the Hague service results, Plaintiff respectfully proposes providing
another status update within sixty (60) days.

        We thank the Court for its time and consideration.

                                                                     Respectfully submitted,

                                                                     EPSTEIN DRANGEL LLP

                                                                     BY: /s/ Gabriela N. Nastasi
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                                                                     New York, New York 10165
                                                                     (212) 292-5390
                                                                     Attorneys for Plaintiff
                                                                     Supercell Oy




2
 Defendants Anxizhilangshangmaoyouxi ,Aureia, baoyimaoyi, BHMT TRADE, BOPENG, BorderlessBazaar, Brave Bird,
ERETHI Toys Co.,LTD, FehiZhiFen, Feiyigou, Ffantacy, GeChengClothing, GZHH LLC, hongdongxianpingchenkeji,
HONGYOHE a/k/a TKBABEUE, HYSMT, JGTUY, JINZHAOYOUJIU, kdchaow, KEVCHE Co.,Ltd, Lin Lei, LYNDZGS,
Lyrasun Toys&Decor Shop, PlayLandia, Ridiculous Bastard, Save Money 2 U, Shenghu Trading Co., LTD, woeioi,
xiansiqing, xingyishihuihuikejiyouxiangongsi, yinchuanbaifudianzishangwu A/K/A Holiday Haven, YSHUAka, Yttmshdga,
YUYXEdc, 玉娥达 a/k/a Yu'eda, 王盼888 a/k/a Wang Pan 888 and 阿震的铺子 a/k/a Ah Zhen's shop
